JS 44 (Rev. 10/20)        Case 2:21-cv-00601-DBBCIVIL COVER
                                                 Document      SHEET
                                                          1 Filed 10/13/21 PageID.1 Page 1 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                DEFENDANTS
          CRICUT, INC., A Delaware Corporation,                                                                   ENOUGH FOR EVERYONE, INC., A Nevada corporation,
                                                                                                                  and DESIRÉE TANNER, an individual,
    (b)   County of Residence of First Listed Plaintiff               Salt Lake                                  County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
          Snell & Wilmer LLP, 15 W. South Temple, Suite 1200
          Salt Lake City, Utah 84101   801.257.1900
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                              (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                     3   Federal Question                                                                       PTF         DEF                                        PTF      DEF
□         Plaintiff
                                      □           (U.S. Government Not a Party)                         Citizen of This State            1           1     Incorporated or Principal Place         4     4
                                                                                                                                          □       □                                               □       □
                                                                                                                                                                                                ✖

                                                                                                                                                             of Business In This State

                                                                                                                                                                                                           x
□2      U.S. Government
                                      □4        Diversity                                               Citizen of Another State
                                                                                                                                          □2 □         2   Incorporated and Principal Place
                                                                                                                                                                                                  □   5
                                                                                                                                                                                                          □5
                                       ✖

          Defendant                               (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                        Citizen or Subject of a
                                                                                                          Foreign Country                 □3 □         3   Foreign Nation
                                                                                                                                                                                                  □   6
                                                                                                                                                                                                          □6
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                   TORTS                               FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
    110 Insurance                          PERSONAL INJURY                  PERSONAL INJURY                625 Drug Related Seizure               422 Appeal 28 USC 158           375 False Claims Act
    120 Marine                             310 Airplane                    365 Personal Injury -               of Property 21 USC 881             423 Withdrawal                  376 Qui Tam (31 USC
    130 Miller Act                         315 Airplane Product         □      Product Liability           690 Other                                  28 USC 157                      3729(a))
    140 Negotiable Instrument                   Liability                  367 Health Care/                                                                                       400 State Reapportionment
    150 Recovery of Overpayment            320 Assault, Libel &
                                                                        □      Pharmaceutical                                                    PROPERTY RIGHTS                  410 Antitrust
        & Enforcement of Judgment               Slander                        Personal Injury                                                    820 Copyrights                  430 Banks and Banking
    151 Medicare Act                       330 Federal Employers’              Product Liability                                                  830 Patent                      450 Commerce
    152 Recovery of Defaulted                   Liability                  368 Asbestos Personal                                                  835 Patent - Abbreviated        460 Deportation
         Student Loans                     340 Marine                   □      Injury Product                                                         New Drug Application        470 Racketeer Influenced and
         (Excludes Veterans)               345 Marine Product                  Liability                                                          840 Trademark                       Corrupt Organizations
    153 Recovery of Overpayment                 Liability                 PERSONAL PROPERTY                         LABOR                         880 Defend Trade Secrets        480 Consumer Credit
□       of Veteran’s Benefits              350 Motor Vehicle               370 Other Fraud                 710 Fair Labor Standards                   Act of 2016                     (15 USC 1681 or 1692)
□   160 Stockholders’ Suits
    190 Other Contract
                                           355 Motor Vehicle
                                               Product Liability
                                                                        B  371 Truth in Lending
                                                                           380 Other Personal
                                                                                                               Act
                                                                                                           720 Labor/Management                   SOCIAL SECURITY
                                                                                                                                                                                  485 Telephone Consumer
                                                                                                                                                                                      Protection Act
□                                                                       □
✖

    195 Contract Product Liability         360 Other Personal                  Property Damage                 Relations                          861 HIA (1395ff)                490 Cable/Sat TV
B   196 Franchise                              Injury
                                           362 Personal Injury -        □  385 Property Damage
                                                                               Product Liability
                                                                                                           740 Railway Labor Act
                                                                                                           751 Family and Medical
                                                                                                                                                  862 Black Lung (923)
                                                                                                                                                  863 DIWC/DIWW (405(g))
                                                                                                                                                                                  850 Securities/Commodities/
                                                                                                                                                                                      Exchange
                                               Medical Malpractice                                             Leave Act                          864 SSID Title XVI              890 Other Statutory Actions
        REAL PROPERTY                        CIVIL RIGHTS                 PRISONER PETITIONS               790 Other Labor Litigation             865 RSI (405(g))                891 Agricultural Acts
    210 Land Condemnation                  440 Other Civil Rights          Habeas Corpus:                  791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                        441 Voting                      463 Alien Detainee                  Income Security Act               FEDERAL TAX SUITS                895 Freedom of Information
    230 Rent Lease & Ejectment             442 Employment                  510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff            Act
    240 Torts to Land                      443 Housing/                        Sentence                                                               or Defendant)               896 Arbitration
    245 Tort Product Liability                 Accommodations              530 General                                                           871 IRS—Third Party              899 Administrative Procedure
    290 All Other Real Property            445 Amer. w/Disabilities -      535 Death Penalty                   IMMIGRATION                            26 USC 7609                     Act/Review or Appeal of
                                               Employment                  Other:                          462 Naturalization Application                                             Agency Decision
                                           446 Amer. w/Disabilities -      540 Mandamus & Other            465 Other Immigration                                                  950 Constitutionality of
                                               Other                       550 Civil Rights                    Actions                                                                State Statutes
                                           448 Education                   555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
    1 Original                2 Removed from                     3      Remanded from                 4 Reinstated or             5 Transferred from   6 Multidistrict                        8 Multidistrict
□                         □                                 □                                     □                         □                              □                           □
✖
      Proceeding                State Court                             Appellate Court                 Reopened                    Another District       Litigation -                         Litigation -
                                                                                                                                    (specify)              Transfer                             Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. § 2201
VI. CAUSE OF ACTION                         Brief description of cause:
                                            Declaratory judgment regarding royalty payments and equitable claims seeking return of payments.
VII. REQUESTED IN                                CHECK IF THIS IS A CLASS ACTION                           DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                  $1.3 Million +                            JURY DEMAND:
                                                                                                                                                                       □ Yes □ No
                                                                                                                                                                                   ✖

                                                                                                                                                                Case: 2:21−cv−00601
VIII. RELATED CASE(S)                                                                                                                                           Assigned To : Barlow, David
                                                (See instructions):
      IF ANY                                                             JUDGE                                                                    DOCKET NUMBER Assign. Date : 10/13/2021
DATE                                                                        SIGNATURE OF ATTORNEY OF RECORD
                                                                                                                                                                Description: Cricut v. Enough
                                                                                                                                                                For Everyone et al
October 13, 2021                                                              /s/ Jeremy J. Stewart
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                       APPLYING IFP                                       JUDGE                            MAG. JUDGE
                       Case 2:21-cv-00601-DBB Document 1 Filed 10/13/21 PageID.2 Page 2 of 2
JS 44 Reverse (Rev. 10/20)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
